Case 22-50579-pwb         Doc 16    Filed 03/31/22 Entered 03/31/22 11:18:26            Desc Main
                                    Document     Page 1 of 9



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:

KAMRAN LIAQUAT KURANI,                                        CASE NO. 22-50579-PWB

           Debtor.                                            CHAPTER 7

      ASCENTIUM CAPITAL LLC’S MOTION FOR AN ORDER AUTHORIZING
      EXAMINATION OF DEBTOR UNDER FEDERAL RULE OF BANKRUPTCY
                          PROCEDURE 2004

           COMES NOW Ascentium Capital LLC (“Ascentium”) and hereby moves this Court for

 entry of an order under Federal Rule of Bankruptcy Procedure 2004 (“Bankruptcy Rule 2004”)

 authorizing the examination of debtor Kamran Liaquat Kurani (“Debtor”), respectfully showing

 the Court as follows.

                                         JURISDICTION

           (1)   The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

           (2)   Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

           (3)   Debtor filed this Chapter 7 bankruptcy case on January 21, 2022 (the “Petition

 Date”).

           (4)   Ascentium is a creditor in this case by virtue of a default judgment (the

 “Judgment”) entered in August 2019 against Debtor in the lawsuit captioned Ascentium Capital

 LLC v. Kamran L. Kurani, Saima S. Kurani, and Legacy Pizza Properties LLC, 19SC-0292-B,

 State Court of Forsyth County, Georgia (the “State Court Contract Action”).
Case 22-50579-pwb         Doc 16    Filed 03/31/22 Entered 03/31/22 11:18:26                Desc Main
                                    Document     Page 2 of 9



                                      RELIEF REQUESTED

        (5)     Ascentium requests entry of an order (a) authorizing Ascentium to conduct an

examination under Bankruptcy Rule 2004 of Debtor on April 29, 2022, at 10:00 AM, at

undersigned counsel’s law office, located at 3414 Peachtree Road, NE, Suite 1500, Monarch

Plaza, Atlanta, Georgia, or at mutually agreeable time, date, and location; (b) directing Debtor to

appear at such examination; and (c) directing Debtor to produce the documents listed on the

attached Exhibit 1 on or before April 22, 2022, or at a mutually agreeable date.

                               BASIS FOR RELIEF REQUESTED

        (6)     Bankruptcy Rule 2004 provides, in pertinent part, that upon the motion of any

party in interest, “the court may order the examination of any entity.” Fed. R. Bankr. P. 2004(a).

        (7)     The scope of an examination under Bankruptcy Rule 2004 is broad. The

examination may relate to any “acts, conduct or property or to the liabilities and financial

condition of the debtor, or to any matter which might affect the administration of the debtor’s

estate, or to the debtor’s right to a discharge.” Fed. R. Bankr. P. 2004(a).

        (8)     The purpose of an examination under Bankruptcy Rule 2004 is to assist a party in

interest in determining the nature and extent of the bankruptcy estate, revealing assets,

examining transactions and assessing whether wrongdoing has occurred. See Cameron v. United

States, 231 U.S. 710, 717 (1914). See also Akins v. Akins (In re Akins), Adv. Proc. No. 13-1024,

2013 WL 6211809, at *1 (Bankr. N.D. Ga. Aug. 14, 2013) (Drake, B.J.) (“The purpose of a Rule

2004 examination is to discover the condition of the estate and the extent and whereabouts of any

property, thereby facilitating the recovery of estate assets for the benefit of creditors.”).

        (9)     To that end, “courts have recognized that Rule 2004 examinations are ... in the

nature of fishing expeditions,” In re Kelton, 389 B.R. 812, 820 (Bankr. S.D. Ga. 2008) (ellipses



                                                  -2-
Case 22-50579-pwb              Doc 16   Filed 03/31/22 Entered 03/31/22 11:18:26        Desc Main
                                        Document     Page 3 of 9



in original) (quoting In re Enron Corp., 281 B.R. 836, 840 (Bankr. S.D.N.Y. 2002)), with the

only limitation being that “the information sought relate[] to ‘the acts, conduct, or property or to

the liabilities and financial condition of the debtor, or to any matter which may affect the

administration of the debtor's estate.’” In re MMH Auto. Grp., LLC, 346 B.R. 229, 233 (Bankr.

S.D. Fla. 2006) (quoting Fed. R. Bankr. P. 2004(a)).

           (10)    Moreover, a request for a Bankruptcy Rule 2004 examination may be granted on

an ex parte basis. See, e.g., In re M4 Enters., 190 B.R. 471, 473 n.2 (Bankr. N.D. Ga. 1995) (“As

most practitioners are aware, courts customarily dispose of [Bankruptcy] Rule 2004 motions on

an ex parte basis.”).

           (11)    Here, Ascentium seeks an examination directed at, among other things,

information that may affect the administration of this estate, and information related to the acts,

conduct, and liabilities of Debtor, and possibly to Debtor’s right to a discharge.

     Debtor’s Current and Previous Residence; Avoidability of Ascentium’s Judgment Lien

           (12)    According to Debtor’s bankruptcy petition, Schedule A/B, and Statement of

Financial Affairs, Debtor (a) claims an ownership interest in 860 Peachtree Street, Unit 703,

Atlanta, Georgia (the "860 Peachtree Street Address"), (b) currently resides at the 860 Peachtree

Street Address, and (c) has live nowhere else but the 860 Peachtree Street Address for the last

three years.1

           (13)    Moreover, Debtor’s Statement of Intention states that Debtor intends to avoid

Ascentium’s judgment lien as to the 860 Peachtree Street Address. 2




1
    See Doc. 1 at 2, 10, 45.
2
    See Doc. 1 at 52.


                                                  -3-
Case 22-50579-pwb         Doc 16     Filed 03/31/22 Entered 03/31/22 11:18:26                Desc Main
                                     Document     Page 4 of 9



        (14)    Ascentium has reason to believe, however, that Debtor does not currently reside at

the 860 Peachtree Street Address, Debtor has not lived at the 860 Peachtree Street Address for

the last three years, and/or the 860 Peachtree Street Address does not otherwise qualify for an

exemption that would render Ascentium’s judgment lien avoidable.

        (15)    In the three years between the filing of the State Court Contract Action and the

Petition Date, Ascentium has diligently attempted to locate Debtor to serve him various

pleadings, post-judgment discovery, and contempt orders.

        (16)    Among Ascentium’s diligent efforts include numerous attempts to personally

serve Debtor at the 860 Peachtree Street Address, beginning in April 2019 and most recently in

August 2021.

        (17)    In April 2019, Ascentium attempted to personally serve process on Debtor at the

860 Peachtree Street Address six times, to no avail, as no one answered the door. 3

        (18)    On August 18, 2021, Ascentium attempted to personally serve Debtor with an

Order of Contempt at the 860 Peachtree Street Address, again to no avail. An individual

identifying himself as Randy answered the door. Randy informed Ascentium’s process server

that he (a) rents the 860 Peachtree Street Address from Debtor and (b) did not know Debtor’s

whereabouts.

        (19)    Ascentium attempted to serve additional documents at the 860 Peachtree Street

Address on August 29, 2021, and the same individual answered the door.

        (20)    On the rare occasions Ascentium has been able to serve Debtor over the last three

years, Debtor was located not at the 860 Peachtree Street Address, but rather at 1215 Chelsea

Circle NW, Atlanta, Georgia (the “Chelsea Circle Address”).

3
 Ascentium’s inability to locate Debtor at the 860 Peachtree Street Address (or anywhere else) resulted in
entry of an order in the State Court Contract Action authorizing service on Debtor by publication.


                                                   -4-
Case 22-50579-pwb       Doc 16    Filed 03/31/22 Entered 03/31/22 11:18:26            Desc Main
                                  Document     Page 5 of 9



       (21)    In March 2021, Saima Kurani—a codefendant in the State Court Contract Action,

a codebtor as to the Judgment, and Debtor’s ex-spouse—confirmed with Ascentium counsel that

Debtor resided at the Chelsea Circle Address, and resided there with Adrian Szakallas, whom

Ms. Kurani identified as Debtor’s fiancé. This is consistent with Debtor’s and Ms. Kurani’s Final

Judgment and Decree of Divorce entered in October 2020, in which the trial court found as

follows: “The evidence at trial indicates that Kamran Kurani will be living with his paramour

with no expected rent obligation or household bill obligations.”

       (22)    Ascentium thereafter attempted to serve an order on Debtor at the Chelsea Circle

Address by Federal Express delivery. The order was delivered on April 2, 2021, and signed for

by Debtor.

       (23)    On July 8, 2021, Ascentium attempted to personally serve a show-cause order on

Debtor atthe Chelsea Circle Address. An individual identifying herself as Debtor’s wife accepted

service for Debtor.

       (24)    Between July 29 and August 16, 2021, Ascentium atte mpted to personally serve

an Order of Contempt on Debtor atthe Chelsea Circle Address. No one answered the door during

these various attempts, but Ascentium’s process server observed a package at the door addressed

to Kamran Kurani.

       (25)    At Debtor’s § 341 Meeting of Creditors held on March 1, 2022, Ascentium’s

counsel questioned Debtor regarding his whereabouts, both currently and over the last three

years. Debtor gave sworn responses stating:

             that Debtor currently and over the last three years has resided at the 860 Peachtree
              Street Address;

             that Debtor had “no idea” of Ascentium’s numerous attempts to serve him at the
              860 Peachtree Street Address;


                                               -5-
Case 22-50579-pwb        Doc 16    Filed 03/31/22 Entered 03/31/22 11:18:26            Desc Main
                                   Document     Page 6 of 9




             that no individual named Randy (or anyone else) ever rented the 860 Peachtree
              Street Address from Debtor or otherwise resided at the 860 Peachtree Street
              Address;

             that he never signed for a Federal Express delivery at the Chelsea Circle Address;
              and that he never resided at the Chelsea Circle Address.

       (26)    The issue of Debtor’s current and previous residence relates to the administration

of this case because it, among other things, may determine whether and to what extent Debtor

may avoid Ascentium’s judgment lien.

       (27)    This issue also relates to Debtor’s right to a discharge because it may determine

whether Debtor has made one or more false oaths for purposes of 11 U.S.C. § 727(a)(4)(A).


       WHEREFORE, Ascentium requests entry of an order (a) authorizing Ascentium to

conduct an examination under Bankruptcy Rule 2004 of Debtor on April 29, 2022, at 10:00 AM,

at undersigned counsel’s law office, located at 3414 Peachtree Road, NE, Suite 1500, Monarch

Plaza, Atlanta, Georgia, or at mutually agreeable time, date, and location; (b) directing Debtor to

appear at such examination; (c) directing Debtor to produce the documents listed on the attached

Exhibit 1 to Ascentium’s counsel or before April 22, 2022, or on a mutually agreeable date; and

(d) granting any other relief the Court finds reasonable or proper.



                                                      Submitted by:

                                                      /s/ Tim Colletti
                                                      Tim Colletti
                                                      Georgia Bar No. 972791
                                                      tcolletti@bakerdonelson.com
                                                      Kevin A. Stine
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                                                -6-
Case 22-50579-pwb   Doc 16   Filed 03/31/22 Entered 03/31/22 11:18:26       Desc Main
                             Document     Page 7 of 9



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                                             Counsel for Ascentium Capital LLC




                                       -7-
Case 22-50579-pwb        Doc 16    Filed 03/31/22 Entered 03/31/22 11:18:26             Desc Main
                                   Document     Page 8 of 9



                                           EXHIBIT 1

Definitions

“Documents” refers to any original or copy (whether carbon, photographic, electronic, or digital)
in your possession, custody, or control of any agreements, contracts, applications, bank records
or statements, checks, communications (internal or external), internet postings or messages on
social media, memoranda or minutes of meetings or conversations (personal or telephonic),
reports, summaries, notes, legal documents, recordings, audiotapes, video tapes, electronic
recordings, and writings of every description.

"Communications" refers to any and all written, electronic, and digital communications
including, without limitation, written correspondence, e-mails, text messages, WhatsApp
messages, Facebook messages, Snap Chat messages, Signal messages, Instagram messages,
Twitter messages, and/or messages using any other digital communication platform.

“Relate to” and “relating to” means, without limitation, in any way constituting, mentioning,
referring to, describing, summarizing, evidencing, listing, indicating, relevant to, demonstrating,
tending to prove or disprove, containing, reflecting, concerning, relating to, analyzing,
explaining, or in any way logically or factually connected with the matter discussed.

Requests for Production

      Please produce documents and communications showing that you continuously resided at
       860 Peachtree Street, Unit 703, Atlanta, Georgia, in the three years before you filed this
       bankruptcy case.

      Please produce records from any account(s) you have with Amazon, DoorDash, Uber
       Eats, and/or GrubHub showing the address(es) at which you received deliveries during
       the years 2019, 2020, and 2021.

      Please produce all documents and communications relating to any employment
       agreement or any other contract between you and Bmark Consulting LLC.

      Please produce all documents and communications relating to any compensation,
       (including salary, bonuses, gifts, gratuities, or fringe benefits of whatever kind or nature)
       paid to you by Bmark Consulting LLC.
Case 22-50579-pwb        Doc 16     Filed 03/31/22 Entered 03/31/22 11:18:26          Desc Main
                                    Document     Page 9 of 9



                         UNITED STATES BANKRUPTCY COURT
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IN RE:

KAMRAN LIAQUAT KURANI,                                      CASE NO. 22-50579-PWB

         Debtor.                                            CHAPTER 7

                                 CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Motion using
 the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document
 and an accompanying link to this document to the following parties who have appeared in this
 case under the Bankruptcy Court’s Electronic Case Filing program:

 Michael R. Rethinger
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 S. Gregory Hays
 Hays Financial Consulting, LLC
 Suite 555, 2964 Peachtree Road
 Atlanta, GA 30305
 ghays@haysconsulting.net
 Chapter 7 Trustee

         I further certify that on this day I caused a copy of this document to be served via U.S.
 First Class Mail, with adequate postage prepaid, on the following parties:

 Kamran Liaquat Kurani
 860 Peachtree Street NE, Ste 703
 Atlanta, GA 30308
                                                     /s/ Tim Colletti
                                                     Tim Colletti
                                                     Georgia Bar No. 972791
